              Case 19-12809-JKS                   Doc 1     Filed 02/11/19 Entered 02/11/19 14:02:28                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New England Motor Freight, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1-71 North Avenue East
                                  Elizabeth, NJ 07201
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Union                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.nemf.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          New England Motor Freight, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4842

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                           Case number
                                                 District                                 When                           Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                              Relationship
                                                 District                                 When                          Case number, if known




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                                                                                     14 number (if known)
         New England Motor Freight, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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           New England Motor Freight, Inc.
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter      11
                                                                                                            Check if this an
                                                                                                                amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Apex Logistics, Inc.                                                    Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     Carrier Industries, Inc.                                                Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     Eastern Freight Ways, Inc.                                              Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     Hollywood Avenue Solar, LLC                                             Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     Jans Leasing Corp.                                                      Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     Myar, LLC                                                               Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     MyJon, LLC                                                              Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     NEMF Logistics, LLC                                                     Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     NEMF World Transport, Inc.                                              Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known
Debtor     United Express Solar, LLC                                               Relationship to you     Affiliate
District   New Jersey                                 When     2/11/19             Case number, if known




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Fill in this information to identify the case:
Debtor name New England Motor Freight, Inc.
United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                             Check if this is an

Case number (if known):                                                                                                                    amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: CONSOLIDATED List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                             12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 20 largest unsecured claims.

Name of creditor and complete mailing   Name, telephone number     Nature of claim      Indicate if   Amount of claim
address, including zip code             and email address of       (for example,         claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If
                                        creditor contact           trade debts, bank   contingent,    claim is partially secured, fill in total claim amount and deduction for
                                                                   loans,              unliquidated   value of collateral or setoff to calculate unsecured claim.
                                                                   professional        or disputed    Total claim, if           Deduction for value Unsecured claim
                                                                   services, and                      partially secured         of collateral or
                                                                   government                                                   setoff
                                                                   contracts)
JP MORGAN CHASE                         JP MORGAN CHASE            Bank Loan           Contingent      $14,411,560.00            $4,065,560.00          $10,346,000.00
250 PEHLE AVE, STE 105                  Attn: Michael Fondacaro
SADDLE BROOK, NJ 07663                  212-499-2511
                                        michael.a.fondacaro@c
                                        hase.com
TD BANK                                 TD BANK                    Bank Loan           Contingent      $16,458,754.00            $7,175,754.00            $9,283,000.00
1000 MACARTHUR BLVD                     Attn: Bethany
MAHWAH, NJ 07430                        Buitenhuys, VP
                                        207-761-8575
                                        Bethany.buitenhuys@td.
                                        com
EAST WEST BANK                          EAST WEST BANK             Bank Loan           Contingent      $15,881,533.00            $9,929,877.00            $5,951,656.00
533 MADISON AVE, 8th FL                 Attn: Andrew Ross, SVP
NEW YORK, NY 10022                      646-648-9961
                                        andrew.ross@eastwestb
                                        ank.com
SANTANDER BANK                          SANTANDER BANK             Bank Loan           Contingent      $12,624,735.00            $8,237,391.00            $4,387,344.00
200 PARK AVE, STE 100                   Attn: Brian Braungard,
FLORHAM PARK, NJ 07932                  VP
                                        717-221-3872
                                        brian.braungard@santa
                                        nder.us
IAM NATIONAL PENSION                    IAM NATIONAL               Employee                                                                               $1,676,814.00
FUND                                    PENSION FUND               Benefits
1300 Connecticut Ave, Ste 300           Attn: Ryk Tierney, Exec.
                                        Dir. and Raymond Goad,
WASHINGTON, DC 20036
                                        Jr., General Counsel
GREAT DANE LLC                          GREAT DANE LLC             Trade                                                                                     $918,750.00
2266 FOUR STAR DR                       Attn: Frank Korn           Creditor
MOUNT JOY, PA 17552                     fkorn@negd.net
                                        800-231-6343 x 1506
GALLAGHER & BASSETT                     GALLAGHER &                Insurance                                                                                 $483,031.00
SERV INC                                BASSETT SERV INC           Claims
15763 COLLECTIONS CENTER                Attn: Barbara Amato        Administration
DR
CHICAGO, IL 60693
CAPITAL ONE                             CAPITAL ONE             Bank Loan              Contingent       $3,257,075.00            $2,829,075.00               $428,000.00
499 THORNAL ST, 11th FL                 Attn: Robert Harvey
EDISON, NJ 08837                        201-306-8110
                                        robert.harvey@capitalon
                                        e.com
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Name of creditor and complete mailing   Name, telephone number    Nature of claim      Indicate if   Amount of claim
address, including zip code             and email address of      (for example,         claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If
                                        creditor contact          trade debts, bank   contingent,    claim is partially secured, fill in total claim amount and deduction for
                                                                  loans,              unliquidated   value of collateral or setoff to calculate unsecured claim.
                                                                  professional        or disputed    Total claim, if           Deduction for value Unsecured claim
                                                                  services, and                      partially secured         of collateral or
                                                                  government                                                   setoff
                                                                  contracts)
MASSACHUSETTS DEPT OF                   State of Massachusetts    Taxes                                                                                     $322,877.00
REVENUE                                 Attn Carol A Fayan Esq
P O BOX 7049                            Office of Appeals
                                        P.O. Box 9551
BOSTON, MA 02204
                                        Boston, MA 02114-9551
                                        Fax 617-660-9597
LANDSTAR GLOBAL                         LANDSTAR GLOBAL           Trade                                                                                     $228,822.00
LOGISTICS, INC                          LOGISTICS, INC            Creditor
P O BOX 784302                          904-399-8909
PHILADELPHIA, PA 19178-4302
VFS US, LLC                             VFS US, LLC               Trade                                                                                     $223,949.00
NORTH AMERICAN                          Attn: Jackie Inge         Creditor
TRANSACTION SER                         jackie.inge@vfsco.com
                                        800-856-9238 x 4322
P O BOX 7247-6171
PHILADELPHIA, PA 19170-6171
SUPERIOR DISTRIBUTORS                   SUPERIOR                  Trade                                                                                     $184,668.00
4 MIDLAND AVE                           DISTRIBUTORS              Creditor
ELMWOOD PARK, NJ 07407                  Attn: Marlene
                                        marlene@superiordistrib
                                        utorsinc.com
                                        201-797-9490
GUTTMAN OIL CO                          GUTTMAN OIL CO            Trade                                                                                     $136,183.00
PO BOX 536250                           Attn: Greg Colicchie      Creditor
PITTSBURGH, PA 15253-5904               gcolicchie@guttmangrou
                                        p.com
                                         724-489-5199
IPC (USA), INC.                         IPC (USA), INC            Trade                                                                                     $130,693.00
P O BOX 3250                            Attn: Dahlia Hockless     Creditor
ELLICOT CITY, MD 21042                  dahlia.hockless@usipc.c
                                        om
                                        949-648-5654
ENGLEFIELD, INC                         ENGLEFIELD, INC           Trade                                                                                     $109,381.00
1935 JAMES PARKWAY                      Attn: Amy Ybarra          Creditor
HEATH, OH 43056                         amy.ybarra@englefieldo
                                        il.com
                                        800-282-1675 x 3182
LUCKY'S ENERGY SERVICE,                 LUCKY'S ENERGY            Trade                                                                                     $106,852.00
INC                                     SERVICE, INC              Creditor
6801 W 73RD ST                          Attn: Lisa Luchtman
                                        lisa@luckysenergy.com
BEDFORD PARK, IL
60499-0637
BRIDGESTONE AMERICAS                    BRIDGESTONE               Trade                                                                                     $102,210.00
TIRE OPS LLC                            AMERICAS TIRE OPS         Creditor
PO BOX 73418                            LLC
                                        908-451-0002
CHICAGO, IL 60673-7418
                                        Attn: Len Albuquerque
                                        albuquerqueleonard@bf
                                        usa.com
JAMES RIVER PETROLEUM,                  JAMES RIVER               Trade                                                                                      $94,572.00
INC                                     PETROLEUM, INC            Creditor
DEPT 720067                             Attn: Kaiti Mallard
                                        kmallard@jrpenergy.co
CHARLOTTE, NC 28201-1335
                                        m
                                        804-767-8192
EAST RIVER ENERGY, INC                  EAST RIVER ENERGY,        Trade                                                                                      $91,258.00
PO BOX 388                              INC                       Creditor
GUILFORD, CT 06437-0388                 800 -336-3762
PILOT TRAVEL CENTERS, LLC               PILOT TRAVEL              Trade                                                                                      $87,109.00
PILOT RECEIVABLES DEPT                  CENTERS, LLC              Creditor
5500 LONAS DRIVE, STE 260               Attn: Tonya Vaughn
                                        865-474-2543
KNOXVILLE, TN 37909
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Name of creditor and complete mailing   Name, telephone number     Nature of claim      Indicate if   Amount of claim
address, including zip code             and email address of       (for example,         claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If
                                        creditor contact           trade debts, bank   contingent,    claim is partially secured, fill in total claim amount and deduction for
                                                                   loans,              unliquidated   value of collateral or setoff to calculate unsecured claim.
                                                                   professional        or disputed    Total claim, if           Deduction for value Unsecured claim
                                                                   services, and                      partially secured         of collateral or
                                                                   government                                                   setoff
                                                                   contracts)
CUSTOM BANDAG, INC.                     CUSTOM BANDAG,             Trade                                                                                      $75,818.00
                                        INC.                       Creditor
401 EAST LINDEN AVE
                                        Attn: Jack Ventura
LINDEN, NJ 07036-2411                   jventura@custombanda
                                        g.com
                                        908-862-2400
DENNIS K. BURKE, INC                    DENNIS K. BURKE, INC       Trade                                                                                      $75,142.00
                                        617-884-7800               Creditor
P O BOX 3639
BOSTON, MA 02241-3629
AAA COOPER                              AAA COOPER                 Trade                                                                                      $73,978.00
                                        TRANSPORTATION             Creditor
TRANSPORTATION
                                        Attn: Charlie Prickett,
P O BOX 935003                          EVP & COO
ATLANTA, GA 31193-5003                  Charlie.prickett@aaacoo
                                        per.com
PINNACLE FLEET                          PINNACLE FLEET             Trade                                                                                      $71,310.00
                                        SOLUTIONS                  Creditor
SOLUTIONS
                                        Attn: Patty Seidelman
P O BOX 742294                          pseidelman@corcentric.
ATLANTA, GA 30374-2294                  com
                                        630-925-7676
TOTE                                    TOTE MARITIME              Trade                                                                                      $65,469.00
                                        PUERTO RICO LLC            Creditor
PUERTO RICO LLC
                                        Attn: Joseph Giorgio
P O BOX 409363                          jgiorgio@totemaritime.co
ATLANTA, GA 30384-9363                  m
                                        904-855-1260
RIGGINS, INC                            RIGGINS, INC               Trade                                                                                     $57,169.00
                                        Attn: Paul Riggins         Creditor
P O BOX 150
                                        rpriggins@rigginsoil.com
MILVILLE, NJ 08332                      856-825-7600
MIRABITO FUEL GROUP                     MIRABITO FUEL              Trade                                                                                     $55,895.00
                                        GROUP                      Creditor
THE METROCENTER-49
                                        607-337-4321
COURT ST
BINGHAMTON, NY 13902
SHIPLEY FUELS                           SHIPLEY FUELS              Trade                                                                                     $55,442.00
                                        MARKETING, LLC             Creditor
MARKETING, LLC
                                        Attn: Andrew Graver
P O BOX 15052                           agraver@shipleyenergy.
YORK, PA 17405                          com
                                        717-771-1914
MICHELIN NORTH                          MICHELIN NORTH             Trade                                                                                     $54,891.00
                                        AMERICA, INC.              Creditor
AMERICA, INC.
                                        Attn: Pam Parker
P O BOX 100860                          pam.parker@michelin.c
ATLANTA, GA 30384-0860                  om
                                        864-458-4749
REDSTONE LOGISTICS,                     REDSTONE                   Trade                                                                                     $54,288.00
                                        LOGISTICS, LLC             Creditor
LLC
                                        ATTN: Jim Ritchie
8500 W 110TH ST                         j.ritchie@logrg.com
OVERLAND PARK, KS
66201
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